          Exhibit 67




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             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
         CIVIL ACTION NO. 1:14-CV-00954-LCB-JLW

STUDENTS FOR FAIR
ADMISSIONS, INC.,
                           Plaintiffs,
     vs.
UNIVERSITY OF NORTH
CAROLINA, et al.,
                           Defendants.


                 _______________________________
                         AMENDED DEPOSITION
                                 OF
                         CHRISTOPHER FAISON
  THIS DEPOSITION CONTAINS CONFIDENTIAL AND PROPRIETARY
    INFORMATION AND IS SUBJECT TO A PROTECTIVE ORDER
      RESTRICTING PUBLIC DISCLOSURE OF ITS CONTENTS
             _______________________________



TAKEN AT THE OFFICES OF:
UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL
222 East Cameron Avenue
110 Bynum Hall
Chapel Hill, NC 27514


                               03-03-17
                               8:58 A.M.
                    __________________________
                         Michael B. Lawrence
                           Court Reporter

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   1          relative to other populations on campus, the
   2          American Indian presence or cul -- their cultural
   3          presence is -- is very real here.
   4                    Q.         Okay.
   5                    A.         So it's -- it's good to, I think, think
   6          about how groups show up in places and also how
   7          communities such as our campus choose to lift up
   8          or illuminate those groups as well with respect to
   9          critical mass.
 10                     Q.         So first, let me just say when we talk
 11           about critical mass, I want you to use your
 12           definition of critical mass, just to make sure
 13           we're not get -- we don't get caught up with what
 14           some student thinks of critical mass ---
 15                     A.         Okay.
 16                     Q.         --- like that.   That will make it easier
 17           for you and me to communicate with each other.
 18                     A.         Sure.
 19                     Q.         So, it sounds like you're saying that
 20           the number of students -- again this example of
 21           American Indian students on campus -- the number
 22           of students has some relation to critical mass.
 23                     A.         It does have some relation.     Yes.
 24                     Q.         And would you say there are other
 25           factors that bear on critical mass?

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   1                    A.         Certainly.
   2                    Q.         Could you tell me what some of those
   3          are?
   4                    A.         So can it -- like, with -- outstanding
   5          of number.
   6                    Q.         Uh-huh (yes).
   7                    A.         Representation among administrators,
   8          faculty and staff, it's helpful with the -- within
   9          that -- within its frame.               Visibility of issues or
 10           individuals helps with respect to critical mass.
 11           And then priorities within agendas also speak to
 12           critical mass in my opinion.
 13                     Q.         So, let me see if I can try to capture
 14           what you're saying.               So, for any particular, let's
 15           say racial group for now.               Oh, I suppose -- I
 16           think your definition may apply to other
 17           dimensions of people's identities as well.
 18                     A.         Certainly.
 19                     Q.         That's what it sounds like.     Okay.         But
 20           we'll just stick with racial identity for right
 21           now.        So, in terms of racial identity, for -- for
 22           a particular racial group, if that racial group is
 23           -- has a lot of representation amongst the faculty
 24           and staff at UNC, critical mass might be a lower
 25           number of students of that ethnic group than it

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   1          would otherwise be.
   2                    A.         That's possible.
   3                    Q.         So if -- and I don't -- I'm not going to
   4          -- just for an example, let's say there's X number
   5          of Hispanic students on campus, all right?                     And I
   6          don't know, one-tenth of the faculty is Hispanic,
   7          okay?          If -- in the way you conceive of critical
   8          mass, X number of students -- X number of Hispanic
   9          students might not be critical mass if 10 percent
 10           of the faculty is Hispanic.              But X percent of the
 11           students might be critical mass if 20 percent of
 12           the faculty is Hispanic.              That would be possible,
 13           right?
 14                     A.         It's -- it's possible, but as I -- as I
 15           brought out the other pieces of how I define
 16           critical mass, I would say that a Y, like a Y co-
 17           efficient in that formula would be visibility.
 18                     Q.         Sure.    And to be clear, I'm not trying
 19           to eliminate all other factors.
 20                     A.         Okay.
 21                     Q.         It's just the only two are number of
 22           faculty members ---
 23                     A.         Right.
 24                     Q.         --- and number of students.     But all
 25           other things, you know, keeping in mind that other

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   1          factors may be present, those two things would be
   2          possible in the way you conceive of critical mass.
   3                    A.         And even within that, within let's say,
   4          an X number depending upon who -- like,
   5          positionally, where those people are ---
   6                    Q.         Sure.   So if the --
   7                    A.         --- impacts.   So, for instance ---
   8                    Q.         If the chancellor was Hispanic, right?
   9                    A.         Then that may -- I'm not going to say
 10           what the ratio would be or what the ---
 11                     Q.         Sure.
 12                     A.         --- but it -- it then, again begins to
 13           make numbers more complicated.
 14                     Q.         Yes.    So, I understand.   I'm not going
 15           to try to hold you to a particular number, but all
 16           other things being equal, a higher representation
 17           of an ethnic group in the faculty and
 18           administration and at higher levels of the faculty
 19           and administration would mean relatively speaking
 20           that would compensate for a lower level of number
 21           of students on campus of that ethnic group.
 22                     A.         I don't agree with that.
 23                     Q.         Okay, no?   I thought that was what we
 24           were saying a minute ago.
 25                     A.         I was saying that they form each other,

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   1          but I don't necessarily think that that ---
   2                    Q.         I'm not trying -- okay.    So I'm not kind
   3          of saying necessarily in any given case ---
   4                    A.         Right.
   5                    Q.         --- but -- okay.    So let's say that
   6          using these three factors we're discussing, and
   7          I'm not excluding that there might be possibility
   8          of more ---
   9                    A.         Right.
 10                     Q.         --- okay?   But for right now the factors
 11           we've been discussing are number of students in
 12           that ethnic group, number of faculty and staff of
 13           that eth -- ethnic group and visibility, seniority
 14           among the faculty and staff of that ethnic group,
 15           right?
 16                                Whatever those three factors are at,
 17           let's just say hypothetically speaking we're at
 18           critical mass, okay?              You think, okay, at some
 19           factor for those things, we're at critical mass.
 20           Then theoretically speaking, if one of those
 21           factors went down, that theoretically could be
 22           made up for by one of the other factors going up
 23           and you might still be at critical mass.
 24                     A.         Potentially, yes.
 25                     Q.         That's what I'm trying to figure out.

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   1          Okay.          So they all sort of work together and they
   2          all have some bearing on critical mass for any
   3          particular ethnic group.
   4                    A.         Yes.
   5                    Q.         Okay.   You made reference before when we
   6          were talking about this just a few minutes ago
   7          about -- and I don't -- I'm not trying to state it
   8          exactly, but about how that group shows up.                    You
   9          said something like that?
 10                     A.         Uh-huh (yes).   Yes.
 11                     Q.         Were you referring to sort of how vocal
 12           or active that the group is within the campus
 13           community?             Is that -- was that -- that was meant
 14           in reference?
 15                     A.         No, it's more about -- so, with -- with
 16           respect to, if we're going to focus on race and
 17           ethnicity for -- for now, it's with respect to the
 18           way that someone presents themself.
 19                     Q.         Okay.
 20                     A.         So, for instance, with let's say Latinx
 21           folks.          If someone is -- they have a -- a certain
 22           look about themselves that suggests that they have
 23           Latino heritage, then that's one example.
 24                     Q.         Okay.
 25                     A.         Whereas there can be a Latinx student

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   1          who is white passing, and doesn't appear to be
   2          Latino, then that's another example.              So that's
   3          what I meant by the ways in which people show up.
   4                    Q.         Okay.
   5                    A.         But ---
   6                    Q.         They way they exhibit characteristics
   7          that ---
   8                    A.         And the way they ---
   9                    Q.         --- typically identify with that racial
 10           group?
 11                     A.         Yes.    Or also where -- how are -- how
 12           are they in their racial identity development,
 13           because although you may check a box that says
 14           that you are X, does not mean that you're all on
 15           the same level of racial identity.              That's the
 16           example you mention of the protest.              So just
 17           because you're a Latino student does not mean that
 18           you will all go out and protest for Latino issues.
 19                     Q.         Sure.
 20                     A.         So that's the other variance when it
 21           comes to the notion of critical mass.
 22                     Q.         Okay.
 23                     A.         And also with respect to the campus
 24           climate that we were talking about earlier, you
 25           can have allies -- which we love to use that

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   1          phrase nowadays -- where you don't have to
   2          necessarily be a part of that group, but you may
   3          be a champion of the issues.             So that can also
   4          impact the definition I use for critical mass.
   5                    Q.         Okay.   So in other words -- and we'll
   6          just keep it in racial group for now because
   7          that's what we're talking about right now.                   If
   8          let's say there -- the campus climate involves
   9          some controversy that relates to some political
 10           goings on around the world and with respect to
 11           that issue, Asian students and Hispanic students
 12           identify with each other, then that may affect
 13           what is critical mass for Asian students and
 14           Hispanic students at that given moment in time
 15           because they are allies and champions for each
 16           other in some outward respect on campus.                 Is that
 17           right?
 18                     A.         Yes, it could.
 19                     Q.         Okay.
 20                     A.         Uh-huh (yes).
 21                     Q.         So then am I correct that in the meaning
 22           that you ascribe to critical mass, critical mass
 23           can be different for each and every racial group
 24           on campus?
 25                     A.         Potentially, and at different -- at

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   1          different points in time ---
   2                    Q.         Right.   Right.
   3                    A.         --- given the -- given the population of
   4          the students at the time.
   5                    Q.         And the climate?
   6                    A.         Right.
   7                    Q.         And the presence of those groups in the
   8          faculty and administration, how senior and visible
   9          they are and all those things we just discussed,
 10           correct?
 11                     A.         And then the other piece would be back
 12           to the intersectional identity piece.             If a
 13           certain percentage of students happened to be --
 14           let's say -- let's say Asian students have --
 15           there happen to be a large number who are not
 16           citizens, then depending upon the context of the
 17           situation or of the campus, Asian students that
 18           are not citizens may have a certain focus with
 19           respect to critical mass as opposed to residents
 20           that are at the campus.
 21                                So you -- so even if you -- you may have
 22           -- when we try to make nice and neat boxes with
 23           respect to race and ethnicity, Asian and Asian-
 24           American are often very different.
 25                     Q.         Sure.

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   1                    A.         So, it's important to understand that
   2          when we're trying to look at the educational
   3          benefits of diversity that it's not as simple as
   4          what -- and to the credit of the University of
   5          allowing students who choose more than one race or
   6          ethnicity in 2010 has been helpful, but it also
   7          provides somewhat of a quagmire when you try to
   8          compare that data to data prior to that whenever
   9          we didn't give students that ability.             So it just
 10           makes it for kind of a -- a fun situation when
 11           you're trying to compare things over time.
 12                     Q.         So, is it -- well, I think the sum of
 13           what I'm hearing is that critical mass is not as
 14           simple as the government labels for racial and
 15           ethnic groups.             Right?
 16                     A.         Certainly.
 17                     Q.         So -- and this -- I think this touches
 18           on a point you made earlier about how within
 19           Hispanic students, for example, Mexican-American
 20           students make up a large portion of the Hispanic
 21           students at University of North Carolina.                 But
 22           there are many other kinds of Hispanic students
 23           both at University of North Carolina and
 24           otherwise, and so that bears on critical mass,
 25           too.

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   1                    A.         It does.
   2                    Q.         Just in the manner of the different sort
   3          of segments of the Asian population that might be
   4          on the campus, as you mentioned a minute ago.
   5          Correct?
   6                    A.         Correct, and that's evidenced by the
   7          student groups that we have.             Almost every Asian
   8          group that I'm aware of has its own student
   9          association.             So that speaks to the notion of the
 10           complexity of critical mass as well as even with
 11           the -- the Hispanic versus Latino debate.
 12                                Students have taught me that while
 13           Hispanic may be the official census term or
 14           whatever, a lot of the students and folks kind of
 15           refer to themselves as Latino or Latinx now
 16           because it's gender neutral because that was not
 17           the label that the government placed on them.                      So
 18           I have to be intentional about thinking about how
 19           I even -- how I even name students because I could
 20           lose them by calling them what the government
 21           calls them as opposed to how they call themselves.
 22                     Q.         Okay.   So would you say there is a
 23           critical mass of under-represented minority
 24           students at UNC-Chapel Hill currently?
 25                     A.         It's hard to define that for me right

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